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1          A.       I notified the commissioner when I moved.
2          Q.       And that was a couple months ago?
3          A.       Yes.
4          Q.       Okay.     And then when did you first hear
5     from the commissioner that you needed to live in
6     the district?
7          A.       Friday.
8          Q.       Okay.     So you heard the same day and
9     resigned that day?
10         A.       That's correct.
11         Q.       Who else is current -- well, strike that.
12                  Who is currently on the board right now
13    for Coffee County?
14         A.       Our chairperson is Ms. Ernestine
15    Thomas-Clark.          Co-chair I believe is either Wendell
16    Stone or Matthew McCullough.                  I'm not 100 percent
17    sure of that at this time.
18                  Matthew McCullough is a board member,
19    Wendell Stone is a board member, and Andy Thomas is
20    a board member currently.
21         Q.       Did you ever serve as chair?
22         A.       No.
23         Q.       Co-chair?
24         A.       No.
25         Q.       Did you ever have any position on the

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1     board other than just a board member?
2          A.       No.
3          Q.       What were your responsibilities generally
4     as a member of the Coffee County election board?
5          A.       Just a board member.
6          Q.       Right.      But what does the Coffee County
7     board do with respect to elections in the county?
8          A.       The board basically is in charge of hiring
9     the supervisor of elections and the assistant
10    supervisor of elections and making sure they
11    fulfill their duties and conduct elections and make
12    sure that people are able to register to vote in
13    Coffee County.
14         Q.       Okay.     And do I understand right that the
15    elections supervisor and the assistant elections
16    supervisor in Coffee County, they report to the
17    board?
18         A.       They do.
19         Q.       Have you served on any other election
20    boards?
21         A.       No.
22         Q.       Have you had any other official positions
23    with respect to Georgia elections?
24         A.       No.
25         Q.       What did you do, if anything, to prepare

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1     for the deposition today?
2                   MR. DELK:       And I'll instruct the
3          witness, don't divulge anything that you
4          and I discussed in our meetings.
5                   THE REPORTER:         I'm sorry.         I don't
6          know who was speaking.
7                   MR. DELK:       That was Stephen Delk.
8                   THE REPORTER:         Okay.      Can you restate
9          that, please?
10                  MR. DELK:       Sure.      I was just
11         instructing the witness to not divulge
12         anything from my communications with him,
13         because that would be privileged
14         information.
15                  But subject to that, you can respond.
16    BY MR. CROSS:
17         Q.       So apart from talking with your counsel,
18    what, if anything, did you do to prepare for today?
19         A.       On the advice of counsel, I respectfully
20    decline to answer on the basis of my rights and
21    privilege under Article I, Section 1, Paragraph 16
22    of the Georgia Constitution, the Fifth Amendment of
23    the United States and Georgia law.
24                  As the United States Supreme Court has
25    stated, privilege against testifying protects

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1     everyone, including innocent people, from answering
2     questions if the truth might be used to help create
3     a misleading impression that they were somehow
4     involved in improper conduct.
5                   So I hereby follow the advice of my
6     counsel and respectfully decline to answer.
7          Q.       You're taking the Fifth Amendment in
8     response to a question of what you did to get ready
9     for today?
10         A.       Yes.
11         Q.       Okay.
12                  MR. CROSS:        And Mr. Delk, just for
13         ease, if he's going to take the Fifth in
14         response to any other questions, if he
15         just says Fifth Amendment.
16                  MR. DELK:       That's fine, as long as we
17         stipulate that in -- by stating so, it
18         encompasses the entirety of the statement.
19                  MR. CROSS:        Yes.
20                  MR. DELK:       That's agreeable.
21                  MR. CROSS:        Yeah.      Okay.     You tell
22         me.
23                  MR. DELK:       Moving forward all you
24         need to do is say "Fifth Amendment," and
25         it saves you from having to read the whole

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1          statement.
2                   THE WITNESS:         Yes.
3                   MR. CROSS:        Yeah.
4                   (Whereupon, a discussion ensued
5             off the record.)
6     BY MR. CROSS:
7          Q.       All right.        Let me hand you what's been
8     mark -- what's going to be marked as Exhibit 1.
9                   MR. CROSS:        Mr. Delk, if you want to
10         take a look at it, it's a copy of the
11         document subpoena that we -- that my
12         client served.
13                                  (Whereupon, Plaintiff's
14                                    Exhibit 1 was marked for
15                                    identification.)
16    BY MR. CROSS:
17         Q.       And sorry, disregard that red X.                   I wasn't
18    going to use that particular copy, but it's the
19    only one we have.            Otherwise, it's exactly the
20    same.
21         A.       Sure.
22         Q.       But just tell me, do you recognize Exhibit
23    1?
24         A.       Yes.
25         Q.       Okay.     And so you recognize this as a

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1     question.        Can you --
2          Q.       Sure.
3          A.       -- rephrase that?
4          Q.       You have been inside the Coffee County
5     election office; right?
6          A.       Yes.
7          Q.       And was there ever a point where you were
8     inside the Coffee County elections office in any
9     capacity other than as a member of the board?
10         A.       No.
11         Q.       Just so I understand, when you're invoking
12    the Fifth Amendment today, are you doing that on
13    your personal behalf or on behalf of the Coffee
14    County Board of Elections?
15                  MR. DELK:       Object to the form.             You
16         know that's not legally proper to do it on
17         behalf of the board.              And this deposition
18         is noticed for individual, not a 30(b)(6),
19         so I object to the entire format of that
20         question being improper.
21                  MR. CROSS:        I mean, it seems like
22         we're agreeing, but I just want to make
23         sure that he's asserting the Fifth
24         personally, not on behalf of the board.
25                  MR. DELK:       He's only providing

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1          testimony personally.
2                   MR. CROSS:        Okay.
3     BY MR. CROSS:
4          Q.       Do you disagree with your counsel?
5          A.       I do not.
6          Q.       Okay.
7                                   (Whereupon, Plaintiff's
8                                     Exhibit 4 was marked for
9                                     identification.)
10    BY MR. CROSS:
11         Q.       So Mr. Chaney, I've handed you what's been
12    marked as Exhibit 4.             Just take a moment to read
13    through it, and tell me if you recognize it.
14                  (Whereupon, a discussion ensued
15           off the record.)
16                  (Whereupon, the document was
17           reviewed by the witness.)
18                  THE WITNESS:         Yes, sir, I do.
19    BY MR. CROSS:
20         Q.       And what do you recognize Exhibit 4 as?
21         A.       It's just an investigation summary where
22    there was a complaint -- or complaints filed I
23    guess through the Secretary of State's office.                        And
24    I see the findings and the potential violation on
25    the back of the page.

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1           Q.       Okay.     So Exhibit 4 is an official summary
2     from the Secretary of State's office about an
3     investigation involving Coffee County; is that
4     fair?
5           A.       Yes.
6           Q.       And what involvement, if any, did you have
7     with this investigation?
8           A.       None that I recall.
9           Q.       So did anybody from the State interview
10    you as a member of the board?
11          A.       Not that I recall.
12          Q.       Did anyone from the State provide a report
13    to any -- to you as a member of the board other
14    than what's written here?
15          A.       Not that I recall.
16          Q.       Okay.     So if we look at Exhibit 4, look at
17    complaint two on Page 1.                Do you see that?
18          A.       I do.
19          Q.       And it reads:
20                   "A video surfaced on YouTube where
21            it showed Coffee County election
22            supervisor Misty Martin discussing the
23            ways in which the election software
24            could be manipulated."
25                   Do you see that?

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1            A.       I do.
2            Q.       And Misty Martin is the same person as
3     Misty Hampton?
4            A.       Yes.
5            Q.       Okay.     So we're talking about the, at this
6     time, the Coffee County election supervisor; right?
7            A.       Yes.
8            Q.       Okay.     And are you familiar with that
9     YouTube video?
10           A.       Yes.
11           Q.       You filmed that video; right?
12           A.       Fifth Amendment.
13           Q.       The video that's referenced there, that
14    was filmed during an official meeting of the Coffee
15    County election board in the Coffee County
16    office -- election office; right?
17           A.       Fifth Amendment.
18           Q.       All right.        Turn to the third page, if you
19    would.        Do you see where it has Findings at the
20    top?
21           A.       Yes, sir.
22           Q.       And then Complaint Two referencing that
23    same complaint.             Do you see that?
24           A.       Yes.
25           Q.       And under the findings here, the State

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1     reports:
2                    "Ms. Martin, along with Coffee
3            County Board of Election member Eric
4            Chaney, made two videos claiming the
5            Dominion system election software
6            could be manipulated."
7                    Do you see that?
8           A.       I do.
9           Q.       Do you disa -- dispute that finding?
10          A.       Fifth Amendment.
11          Q.       It then goes on, if you come to the third
12    sentence, four lines down in the middle, do you see
13    where it reads, "Ms. Martin never"?
14          A.       I do.
15          Q.       And it -- and the finding here is:
16                   "Ms. Martin never once during the
17           videos explained the intended use of
18           the adjudication process.
19                   "The video was very misleading and
20           seemed its purpose was simply to
21           create doubt and public mistrust in
22           the Dominion Voting System."
23                   Do you see that?
24          A.       Yes.
25          Q.       Was it your purpose in creating this video

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1     to create doubt and public mistrust in the Dominion
2     Voting System?
3                    MR. DELK:       Object to the form.
4                    THE WITNESS:         Fifth Amendment.
5     BY MR. CROSS:
6           Q.       What was the purpose of the video?
7           A.       Fifth Amendment.
8           Q.       As you sit here, do you have any reason to
9     believe creating the video was criminal?
10          A.       Fifth Amendment.
11          Q.       Do you believe that video being released
12    to the public was criminal?
13          A.       Fifth Amendment.
14          Q.       If you come down to the second paragraph,
15    do you see where there's discussion of a password
16    that was taped to the bottom of the computer screen
17    Ms. Martin was using?
18          A.       Yes.
19                   (Whereupon, a discussion ensued
20           off the record.)
21                                   (Whereupon, Plaintiff's
22                                     Exhibit 5 was marked for
23                                     identification.)
24    BY MR. CROSS:
25          Q.       I'll hand you Exhibit 5.               And just tell me

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1     E-mail, do you see the sentence that begins "I have
2     no knowledge whether"?
3           A.       I do.
4           Q.       And you wrote to Ms. Herzog:
5                    "I have no knowledge whether or
6            not Misty allowed anyone without
7            authorization to access the server
8            room (which remains locked).                   And
9            because of the layout of the elections
10           office, which is very small, you have
11           to walk through Misty's office to
12           access that room.
13                   "Therefore, it is highly unlikely,
14           if not impossible, for her not to know
15           who did or did not enter the server
16           room."
17                   Do you see that?
18          A.       Yes.
19          Q.       You then go on:
20                   "I have no personal knowledge that
21           anyone without authorization accessed
22           the server room..."
23                   Do you see that?
24          A.       Yes.
25          Q.       That was a lie; right?

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1                    MR. DELK:       Object to the form.
2                    THE WITNESS:         No.
3     BY MR. CROSS:
4           Q.       So that's a true statement, that you have
5     no personal knowledge that anyone without
6     authorization accessed the server room?
7           A.       Fifth Amendment.
8           Q.       Well, is it a lie or is it a true
9     statement?
10          A.       Fifth Amendment.
11          Q.       Well, you just said it's not a lie.
12          A.       Fifth Amendment.
13          Q.       Okay.     And you go on in that same sentence
14    to say that you also have no "knowledge of any
15    other statements or allegations in Ms. Brown's
16    letter."
17                   Do you see that?
18          A.       That's correct.
19          Q.       That also was a lie; right?
20          A.       Fifth Amendment.
21                   MR. DELK:       Object to the form.
22    BY MR. CROSS:
23          Q.       And you wrote this E-mail specifically for
24    the purpose of Ms. Herzog providing it as the
25    response to the Washington Post inquiry; right?

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1            A.       Correct.
2            Q.       Did you convey the truth of what happened
3     to your counsel or did you lie to your counsel,
4     too?
5                     MR. DELK:       Object to the form.
6            That's privileged.
7                     THE WITNESS:         Fifth Amendment.
8     BY MR. CROSS:
9            Q.       Why did you write this dishonest E-mail in
10    response to the inquiry from the Washington Post?
11                    MR. DELK:       Object to the form.             Asked
12           and answered.
13                    THE WITNESS:         Fifth Amendment.
14    BY MR. CROSS:
15           Q.       In the days leading up to January 7 of
16    2021, you reached out to Misty Hampton and asked if
17    she'd be willing to work with folks to get access
18    to the voting equipment in her elections office;
19    right?
20                    MR. DELK:       Object to the form.
21                    THE WITNESS:         Fifth Amendment.
22    BY MR. CROSS:
23           Q.       You had multiple conversations with her
24    about that; right?
25           A.       Fifth Amendment.

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1           Q.       You told her specifically that one of
2     those individuals would be a man named Scott Hall;
3     right?
4           A.       Fifth Amendment.
5           Q.       Cathy Latham was one of the key
6     individuals who helped organized this with Scott
7     Hall; right?
8           A.       Fifth Amendment.
9           Q.       You and Ms. Latham worked together to
10    organize this; correct?
11          A.       Fifth Amendment.
12          Q.       On the morning of January 7, 2021, you
13    were aware that Scott Hall and others arrived in
14    the Coffee County election office specifically for
15    the purpose of copying ballots and copying data
16    from the voting equipment; right?
17          A.       Fifth Amendment.
18          Q.       Did you send any text messages about that?
19          A.       Fifth Amendment.
20          Q.       Do you use Signal?
21          A.       Fifth Amendment.
22          Q.       It's incriminating whether you use Signal
23    at all?
24          A.       Fifth Amendment.
25          Q.       I take it you use Signal only to commit

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1     crimes?
2           A.       Fifth Amendment.
3                    MR. DELK:       Object to the form.
4     BY MR. CROSS:
5           Q.       You were in the Coffee County elections
6     office on January 7, 2021 yourself; right?
7           A.       Yes.
8           Q.       Ms. Latham was also there; right?
9           A.       Fifth Amendment.
10          Q.       You were there when Scott Hall walked into
11    the door; right?
12          A.       Fifth Amendment.
13                                   (Whereupon, Plaintiff's
14                                     Exhibit 9 was marked for
15                                     identification.)
16    BY MR. CROSS:
17          Q.       All right.        Mr. Chaney, I've handed you
18    what's been marked as Exhibit 9.                     Take a moment to
19    read through it.            But do you recognize that these
20    are text messages that you exchanged with Misty
21    Hampton?
22                   (Whereupon, the document was
23           reviewed by the witness.)
24                   THE WITNESS:         I recognize this as a
25          text thread, but I'm not -- I mean, I

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1           can't testify to them.
2     BY MR. CROSS:
3           Q.       Text thread with Misty Hampton?
4           A.       Fifth Amendment.
5           Q.       All right.        Do you see at the bottom
6     there's pagination 24 pages, if you look on the
7     bottom right corner?
8           A.       Yes, sir.
9           Q.       Go to Page 12 of 24 in the text thread
10    with Ms. Hampton.             You see the date November 12th,
11    2020 --
12          A.       Yes.
13          Q.       -- 10:08 p.m.?
14                   And she wrote to you:
15                   "Did you like that post?               Was that
16           okay?"
17                   You said:       "I did.       Very good."
18                   She writes:        "Thank you."
19                   Do you see that?
20          A.       I do.
21          Q.       Do you recall what this was about, what
22    this post was about?
23          A.       Fifth Amendment.
24          Q.       Okay.     And then you write back:
25                   "Thanks for your hard work."

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1     County.
2           Q.       And you're aware that, during at least one
3     election, Ms. Hampton's daughter was able to use a
4     poll pad to watch Netflix during the election;
5     right?       Ms. Hampton conveyed that to you?
6           A.       Fifth Amendment.
7           Q.       Then if you come down to the bottom,
8     there's still -- just so you can see, we're still
9     on December 30 of 2020.                That spills over to the
10    top of Page 20, and there's an additional photo.
11                   So this is still December 30.                  Do you see
12    that?
13          A.       Yes.
14          Q.       And there's a card game that's depicted on
15    a computer screen in that one; right?
16          A.       Yes.
17          Q.       And here Ms. Hampton wrote to you:
18                   "This is the computer that the
19            I.C.C. scanner is connected to."
20                   Right?
21                   MR. DELK:       Object to the form.
22                   THE WITNESS:         Fifth Amendment.
23    BY MR. CROSS:
24          Q.       And then she sends you another photo.                   Do
25    you see that below?

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1           A.       Yes.
2           Q.       And there she writes:
3                    "This is the E.M.S. server
4            computer."
5                    Do you see that?
6           A.       Fifth Amendment.
7           Q.       Then on December 31 of 2020 at 7:46 p.m.,
8     you wrote to her:
9                    "Did you get the letter sent?"
10                   Do you see that?
11          A.       Yes.
12          Q.       What letter?
13          A.       Fifth Amendment.
14          Q.       Sent to whom?
15          A.       Fifth Amendment.
16          Q.       About what?
17          A.       Fifth Amendment.
18          Q.       For what purpose?
19          A.       Fifth Amendment.
20          Q.       Who wrote it?
21          A.       Fifth Amendment.
22          Q.       What was your involvement?
23          A.       Fifth Amendment.
24          Q.       Who else was involved?
25          A.       Fifth Amendment.

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1           Q.       She responds to you:
2                    "No.     I am going to finish it
3            tomorrow."
4                    Do you see that?
5           A.       I do.
6           Q.       And then you responded with an E-mail
7     address for Preston Haliburton.                    Do you see that?
8           A.       I do.
9           Q.       Why did you give her Preston Haliburton's
10    E-mail address?
11          A.       Fifth Amendment.
12          Q.       Okay.     Are you aware that Mr. Haliburton
13    represents Cathy Latham?
14          A.       Fifth Amendment.
15          Q.       All right.        Come to Page 22 of 24.                If you
16    come down in the middle, do you see there's a text
17    January 6th of 2021 at 4:26 p.m.?
18          A.       I do.
19          Q.       And on that day, Ms. Hampton wrote to you:
20                   "Scott Hall is on the phone with
21           Cathy about wanting to come scan our
22           ballots from the general election like
23           we talked about the other day.                    I am
24           going to call you in a few."
25                   Do you see that?

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1           A.       I do.
2           Q.       "Cathy" refers to Cathy Latham; right?
3           A.       Fifth Amendment.
4           Q.       So you were aware, at least as of January
5     6th of 2021, that Scott Hall was coming in to the
6     Coffee County election office at least to access a
7     copy, to scan ballots; right?
8           A.       Fifth Amendment.
9           Q.       So when you testified earlier that your
10    only familiarity with Scott Hall was through an
11    open records request, that was a lie; right, sir?
12                   MR. DELK:       Object to the form.
13                   THE WITNESS:         Fifth Amendment.
14    BY MR. CROSS:
15          Q.       Are you aware that lying under oath is a
16    felony?
17          A.       Fifth Amendment.
18          Q.       Do you know who Javier represents?
19          A.       I do.
20          Q.       The Secretary of State's office; right?
21          A.       I do.
22          Q.       Do you understand the Secretary of State's
23    office has a lawyer sitting in this room in which
24    you just lied?
25                   MR. DELK:       Object to the form.

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1     BY MR. CROSS:
2           Q.       Right?
3           A.       Fifth Amendment.
4           Q.       She then writes back later that same day,
5     8:54 p.m.:
6                    "I found out tonight that there is
7            another way to change the ballots in
8            R.T.R."
9                    Do you see that?
10          A.       I do.
11          Q.       What's R.T.R.?
12          A.       I don't know.
13          Q.       And you write back:             "What?"
14                   She writes:        "Yelp."
15                   You say:       "How?"
16                   She says:       "I found a manual on Dominion."
17                   And then you say:            "Wow."
18                   Do you see that?
19                   MR. DELK:       Object to the form.
20                   THE WITNESS:         I do.
21    BY MR. CROSS:
22          Q.       What was this other way to change ballots?
23          A.       I'm not sure.
24          Q.       Then on January 7, 2021, 10:18 a.m., she
25    writes to you:

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1                    "Hey, are you coming to the
2            office?         I need a board member to be
3            here when we transfer ballots."
4                    Do you see that?
5           A.       I do.
6           Q.       Why did a board member need to be there to
7     transfer ballots?
8           A.       Fifth Amendment.
9           Q.       And by "transfer ballots," she's talking
10    about copying the ballots for Scott Hall and
11    others; right?
12                   MR. DELK:       Object to the form.
13                   THE WITNESS:         Fifth Amendment.
14    BY MR. CROSS:
15          Q.       And you wrote:
16                   "I'll be there at 11:00."
17                   Right?
18          A.       I did.
19          Q.       And you don't dispute that you were in the
20    Coffee County election office on January 7, 2021;
21    right?
22          A.       Fifth Amendment.
23          Q.       And when you were in the office that day,
24    you saw Scott Hall come in with others right?
25          A.       Fifth Amendment.

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1           Q.       And you don't dispute that Ms. Latham was
2     in the office that day; right?
3           A.       Fifth Amendment.
4                    (Whereupon, Ms. Curling joined the
5            deposition.)
6     BY MR. CROSS:
7           Q.       You don't dispute that Jil Ridlehoover was
8     in the office that day; right?
9           A.       Fifth Amendment.
10          Q.       If you come to the top of the next page,
11    January 7 of 2021 at 7:24 p.m., you send a phone
12    number to Ms. Hampton.
13                   Do you see that?
14          A.       I do.
15          Q.       Whose phone number is that?
16          A.       I don't know.
17          Q.       Why did you send her that number?
18          A.       I don't know.
19          Q.       Nothing you can tell me about that phone
20    number?
21          A.       Fifth Amendment.
22          Q.       That phone number is for Robert Sinners,
23    S-I-N-N-E-R-S; right?
24          A.       I'm not sure.
25          Q.       You sent a phone number to Ms. Hampton on

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1     January 7, 2021 and you have no idea whose number
2     it is?
3           A.       Fifth Amendment.
4           Q.       I'm going to ask you again, Mr. Chaney.
5     You are aware that that phone number is registered
6     to Robert Sinners; right?
7           A.       Fifth Amendment.
8                    MR. DELK:       Object to the form.
9     BY MR. CROSS:
10          Q.       What was Mr. Sinners' involvement in a
11    team coming into the Coffee County elections office
12    on January 7, 2021 to copy ballots and copy
13    proprietary data off of the Dominion voting
14    equipment?
15                   MR. DELK:       Object to the form.
16                   THE WITNESS:         Fifth Amendment.
17    BY MR. CROSS:
18          Q.       Did you personally communicate with
19    Mr. Sinners?
20          A.       Fifth Amendment.
21          Q.       Were you asking Ms. Hampton to communicate
22    with Mr. Sinners about those events?
23          A.       Fifth Amendment.
24          Q.       Who in the Secretary of State's office to
25    your knowledge was aware of what happened on

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1     January 7th, 2021 involving Mr. Hall and Mr. Maggio
2     and others?
3            A.       Fifth Amendment.
4                     MR. DELK:       Object to the form.
5     BY MR. CROSS:
6            Q.       When did they become aware?
7            A.       Fifth Amendment.
8            Q.       Immediately after you send her this phone
9     number, you write to her:
10                    "Let's switch to Signal."
11                    Right?
12           A.       Fifth Amendment.
13           Q.       Well, it's written here in front of us.                     I
14    mean, we can get that much right.                      You wrote to
15    her:
16                    "Let's switch to Signal."
17                    Right?
18                    MR. DELK:       Object to the form.             Asked
19           and answered.
20                    THE WITNESS:         Fifth Amendment.
21    BY MR. CROSS:
22           Q.       You wanted to switch to Signal because you
23    wanted to make sure you could delete the messages
24    you guys were exchanging; right?
25           A.       Fifth Amendment.

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1           Q.       Maybe if you'd thought of that sooner, we
2     wouldn't have all these texts, would we?
3           A.       Fifth Amendment.
4                    MR. DELK:       Object to the form.
5     BY MR. CROSS:
6           Q.       Thought of it a little bit too late.
7                    MR. DELK:       Argumentative.
8                    Don't -- you don't have to respond.
9           That's not even a question.
10    BY MR. CROSS:
11          Q.       I gathered from going through the document
12    requests earlier where you wrote "denied" that you
13    have no responsive Signal messages to produce to
14    us; is that right?
15          A.       Fifth Amendment.
16          Q.       In fact, you've recently told people
17    associated with the Coffee County board that you
18    deleted those messages; right?
19                   MR. DELK:       Object to the form.
20                   THE WITNESS:         Fifth Amendment.
21    BY MR. CROSS:
22          Q.       On January 8th of 2021 at 11:52 a.m., she
23    writes to you:
24                   "Did you check Signal?"
25                   Right?

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